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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division


ePLUS, INC.,

                          Plaintiff,

v.                                                      Civil Action No.: 2:09cv232/HCM-TEM

PERFECT COMMERCE, INC.
SCIQUEST, INC.,
LAWSON SOFTWARE, INC. and
VERIAN TECHNOLOGIES, INC.,

                  Defendants.
______________________________________/

                         MOTION FOR EXTENSION OF TIME TO FILE
                        RESPONSIVE PLEADINGS TO THE COMPLAINT

            Defendant, Verian Technologies, Inc. (“Verian”), by counsel appearing specially, without

waiving any challenges to jurisdiction or venue, moves this Court to extend the time through July

8, 2009 for it to answer, plead, or otherwise respond to the Complaint filed by the Plaintiff,

ePLUS, Inc. (“ePLUS”), and in support thereof, states as follows:

            1.     ePLUS served its Complaint for patent infringement upon Verian on June 1, 2009.

The time for Verian to answer, plead, or otherwise respond has not passed and more time is

needed to form such responses in this matter. Under Local Rule 7(F)(2) of the Local Rules of

Practice for this Court, no separate brief in support of this motion is required.

            2.     ePLUS’s counsel offered Verian’s counsel an extension of time in which to

answer, plead, or otherwise respond through July 8, 2009. Verian’s counsel has accepted and

agreed.




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            3.     Attached as Exhibit A is a proposed agreed order granting Verian the relief

sought. The agreed order is being circulated for endorsement and will be delivered to the Court

once signed.

            WHEREFORE, Verian, by counsel, requests that this Court enter an Order granting them

an extension of time to answer, plead, or otherwise respond to the Complaint through and

including July 8, 2009.

Dated: June 18 2009.                            Respectfully submitted,



                                                ___/s/ James J. Briody_____________
                                                James J. Briody (VSB No. 32128)
                                                SUTHERLAND ASBILL & BRENNAN LLP
                                                1275 Pennsylvania Avenue, NW
                                                Washington, DC 20004-2415
                                                Tel.: 202.383.0100
                                                Fax: 202.637.3593
                                                E-mail: jim.briody@sablaw.com

                                                Counsel for Verian Technologies, Inc.




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                                         CERTIFICATE OF SERVICE

            I hereby certify that on June 18, 2009, I will electronically file the foregoing with the Clerk of the

Court using the CM/ECF system, which will send a notification of such filing (NEF) to the following:

            Attorneys for Plaintiff                                    Of Counsel:

            Gregory N. Stillman                                        Scott L. Robertson
            Brent Lee VanNorman                                        Jennifer A. Albert
            Hunton & Williams                                          Christopher C. Campbell (VSB No. 36244)
            500 East Main Street, Suite 1000                           Goodwin Procter, LLP
            Norfolk, VA 23510                                          901 New York Avenue, N.W.
            Tel.: 757-640-5300                                         Washington, DC 20001
            Fax.: 757-625-7720                                         Tel.: 202 346-4000
            gstillman@hunton.com                                       Fax.: 202-346-4444
            bvannorman@hunton.com                                      srobertson@goodwinprocter.com


            David M. Young
            VSB No. 35997
            Goodwin Procter, LLP
            901 New York Avenue, N.W.
            Washington, DC 20001
            Tel.: 202-346-4000
            Fax.: 202-346-4444
            dyoung@goodwinprocter.com


            Attorneys for Defendant Perfect Commerce, Inc.
            Kenneth W. Brothers
            Dickstein Shapiro LLP
            1825 Eye Street NW
            Washington, DC 20006-5403
            Tel.: 202 420-4128
            Fax.: 202-420-2201
            brothersk@dicksteinshapiro.com




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            Attorneys for Defendants SciQuest, Inc. and Lawson Software, Inc.
            Stephen E. Noona
            Kaufman & Canoles, P.C.
            150 West Main Street, Suite 2100
            Norfolk, VA 23510
            Tel.: 757-624-3000
            Fax.: 757-624-3169
            senoona@kaufcan.com




                                                  ____/s/ James J. Briody____________
                                                  James J. Briody (VSB No. 32128)
                                                  SUTHERLAND ASBILL & BRENNAN LLP
                                                  1275 Pennsylvania Avenue, NW
                                                  Washington, DC 20004-2415
                                                  Tel.: 202.383.0100
                                                  Fax: 202.637.3593
                                                  E-mail: jim.briody@sablaw.com

                                                  Counsel for Verian Technologies, Inc.




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